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      Cavalry SPV I, LLC
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8
                              UNITED STATES DISTRICT COURT
9
10                          CENTRAL DISTRICT OF CALIFORNIA
11
12     ANTONIO B. CARREON,                         ) CASE NO.: 2:17-cv-1953
                                                   )
13                   Plaintiff,                    )
                                                   ) NOTICE OF REMOVAL
14                                                 )
                     vs.                           )
15                                                 )
                                                   )
16     CAVALRY SPV I, LLC,                         )
                                                   )
17                   Defendant.                    )
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      CARREON v. CAVALRY SPV I, LLC (CASE NO.: 2:17-cv-1953)
      NOTICE OF REMOVAL
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 1           TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2           PLEASE TAKE NOTICE that defendant Cavalry SPV I, LLC (“Defendant”)
 3 hereby removes to this Court the state court action described below.
 4           1.     On December 14, 2016, a small claims complaint was filed against
 5 Defendant by plaintiff Antonio B. Carreon (“Plaintiff”), in an action pending in
 6 Superior Court of the State of California in and for the County of Los Angeles,
 7 entitled Antonio B. Carreon v. Cavalry SPV I, LLC, Case No. 16DWSC07740. A
 8 copy of the state court small claims complaint (“Complaint”) is attached hereto as
 9 Exhibit A.
10           2.     This removal petition is timely under 28 U.S.C. § 1446(b) because
11 Defendant was served on February 28, 2017.
12           3.     This action is a civil action of which this Court has original jurisdiction
13 under 28 U.S.C. § 1331 and which may be removed to this Court by Defendant
14 pursuant to the provisions of 28 U.S.C. § 1441(a), because the Complaint asserts
15 claims against Defendant arising under 15 U.S.C. §§ 1692, et seq. (the “Fair Debt
16 Collection Practices Act”). See Ex. A at ¶ 3.
17           4.     As the Complaint was filed in the Superior Court of the State of
18 California, County of Los Angeles, venue in this District Court is proper. See 28
19 U.S.C. § 1441(a) (providing for removal “to the district court of the United States for
20 the district and division embracing the place” where the state court action is
21 pending); 28 U.S.C. § 84(c)(2) (The Central District, Western Division comprises the
22 counties of, inter alia, Los Angeles).
23           5.     Defendant is represented by the undersigned.
24 DATED: March 10, 2017                        SIMMONDS & NARITA LLP
                                                TOMIO B. NARITA
25                                              JENNIFER L. YAZDI
26
                                                By:    s/Jennifer Yazdi
27                                                     Jennifer L. Yazdi
                                                       Attorneys for Defendant
28                                                     Cavalry SPV I, LLC

      CARREON v. CAVALRY SPV I, LLC (CASE NO.: 2:17-cv-1953)
      NOTICE OF REMOVAL                                                                           1
